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Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT

                            CENTRAL DIVISION, STATE OF UTAH

 JESSICA LEWIS MORTENSEN,
                                                     NOTICE OF VOLUNTARY DISMISSAL
 Plaintiff,                                            PURSUANT TO Fed.R.Civ.P. 41(a)

 vs.

 SOLUTIONREACH, INC.,                                         Case No. 2:19-cv-828-CW
                                                               Judge Clark Waddoups
 Defendant.

        Pursuant to Utah or Fed. R. Civ. P. 41(a), plaintiff moves this Court to dismiss the complaint

with prejudice. No answer was filed.

        DATED this 13th       day of March 2020.


                                               /s/ Kenneth Parkinson
                                               KENNETH PARKINSON, for:
                                               HOWARD, LEWIS & PETERSEN, P.C.
                                               Attorneys for Plaintiff
